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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA

  vs.                                                Case No: 8:21-cr-218-CEH-AAS

  JOSHUA WILLIAMSON                        /

                                   ORDER OF DETENTION

        This cause came on for hearing following defendant's appearance upon a writ

  of habeas corpus ad prosequendum, on an Indictment charging him with engaging in

  racketeering activity, unlawfully and knowingly committing an assault with a

  dangerous weapon and an assault resulting in serious bodily injury to J.T., in

  violation of Title 18 U.S.C. ' 1959(a)(3) and (2). Since the defendant is currently

  incarcerated serving a state sentence, he is ineligible for release on bond and is

  detained. Defendant does not contest detention at this time. Should the defendant=s

  situation change and he becomes eligible for release, a motion for reconsideration of

  the detention order may be filed on his behalf. It is therefore,

        ORDERED:

        The defendant is committed to the custody of the Attorney General or his

  designated representative for confinement in a corrections facility separate, to the

  extent practicable, from persons awaiting or serving sentences or being held in

  custody pending appeal. The defendant shall be afforded a reasonable opportunity for

  private consultation with defense counsel. On order of a court of the United States or

  on request of an attorney for the Government, the person in charge of the corrections
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  facility shall deliver the defendant to the United States Marshal for the purpose of

  an appearance in connection with a court proceeding.

        ORDERED this        3rd       day of September, 2021.
